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                             UN ITED STATES DISTRICT COURT FOR THE
                                  SOU TH ERN DISTRICT OF FLO RIDA
                                    FORT LAUDERDALE DIVISION

                       Case N um ber:18-60788-ClV -M A RTlN EZ-O T A ZO -M Y E S

   SPRINT CO M M UN ICA TION S,lN C .,

              Plaintiff,

   VS.

   STEPH EN CA LA BRESE,eta1.,

              D efendants.


                                           O M N IBU S O R DE R

              THIS CAUSE isbeforetheCoul'tupontheparties'crossmotionsforsummaryjudgment,
   LECF Nos.120,1221.Alsobeforethe CourtisDefendants'SupplementalM otion forSumm ary
   Judgment,(ECFNo.211),aswellasPlaintiff'sM otiontoStrikesaidSupplementalMotion,EECF
   No.2182.TheCourthasconsideredthemotions,theentirerecord,andisotherwiseduly advised
   in theprem ises.Aftercarefulconsideration,theCourtfindsasfollows.

         1.      B ackground

              Use it or lose it.This case arises from a tradem ark dispute between Plaintiff,Sprint

   Communications,lnc.(($Sprint''),and Defendants,Stephen Calabrese,Nextel,Inc.,Retrobrands
   USA LLC,Jeffrey Kaplan,andNextelM obileW orldwide,Inc.(ûr efendants'').Specifically,this
   case centers around w hetherSprinthasabandoned its use ofcertain N EX TEL tradem arks.

              The Courtpresum es the parties are aw are of the factual history of this case given the

   extensive ongoing litigation.A s such,the Courtwilloffer only a briefbackground ofthe factsat

   issue.

              ln 2005,Sprintpurchased the telecom munications service provider formerly known as
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   Nextel.Thetwo companiesmergedand becamewhatw asknown astheSprintN extelCorporation.

   Nextel phones were popular for their push-to-talk (<walkie-talkie''features m ade especially

   recognizableby the devices'chirp sound.Sprintownstwo inoontestable federalregistrationsfor

   N EX TEL and N EX TEL M ark,and a federalregistration for the N exteldçchirp''sound, know n as

   the StsprintChil'p M ark,''as a sound m ark.

          These devices were initially supported by the iDEN network, which was shut down by

   Sprinton June30,2013.Sprintencouraged Nextelsubscribersusingthe iDEN network to switch

   to Sprint's(sDirectConnect''network.Sprintthen rem ovedNextelfrom itscop oratenam e. Sprint

   allegedly shutdown the Nextelwebsite atwww.nextel.com .Sprinthas also eitherabandoned or

   cancelled approximately fifty-tllreeregisteredorpendingN exteltradem arksfrom 2005tothetim e

   of filing.Additionally,Sprint's nnnualForm 10-K reports tsled with the Securities Exchange

   Comm ission in 2014-2017 stopped identifying NextelasaSprintbrand,and stopped identifying

   Nextelasapatent,tradem ark,orlicenseinthereport.Sprintcorredly assertsthatitisnotrequired

   to in factlisteverytrademark itowns.Accordingly,Sprintassertsthatthisisnotan indication that

   ithasin factabandoned theNextelm arks.

          Indeed,according to Sprint,itstillactively usestheN exteltradem ark on certain otherpush-

   to-talk deviees,including the Sonim XP StrikeIS rugged,wherethe term CCN EXTEL* inspired''

   can beseen inthefineprintontheback ofcertain boxesand on certain userguides.Sprintasserts

   thatitprim arily focusesitsadvertising forthesepush-to-talk servicesontheSûBusinessM arket''as

   opposed to the retailm arket.The BusinessM arketconsists ofbusinesses,firstresponders, and

   othergovenunentagencies.A s such,Sprintcontends ithas used the N extelm ark atcertain trade

   shows,suohastheInternationalCommunicationsW irelessExpo($çICW E''),andduringcustomer
   salespresentations verbally and in Pow erpoint.


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          I

          , ef
          D   endant Stephen Calabrese is an inventor, who apparently co-invented ROPIC

   technolàgy,which isthefoundationalteclmology underlying theoriginalNextelproducts Under    .



   the apparentimpression thatSprintabandoned the Nextelbrand,M r.Calabrese founded Nextel,

   Inc.,which isdoingbusinessasNextelW orldwide (together,CINW Entity'').Inthefallof2016,
   the N W Entity filed an application w ith the United States Patentand Tradem ark O ffice seeking to

   register the NEX TEL M ark in colm ection w ith telecom m unication access services,

   telecom p unication gatew ay services,and transfer of data by telecom m unication.TheN W Entity

   also regtstered itstradename,Nextel,lnc.d/b/aNextelW orldwidewith theFloridaDivision of
             I

   Corporations, as well as the dom ain nam e <nextelworldwide.com>.The Entity then began

   prom oting,advertising,and soliciting third-pal'
                                                  tyretailersanddistributorsto selltheirproductwith

   theNexielM ark,whichwasstillownedby Sprint.
          Then cameRetrobrands,which isoperatedby M r.Kaplan.Retrobrands'businessmodelis

   to (trevike'' older,fam ous brands that have fallen out of popularity or have otherwise been

   discontinued.RetrobrandsandtheNW Entitycreatedajointplantotsrelaunch''theNextelbrand.
   Thisdsrelaunch,''according to Sprint,however,wasnotarelaunch,butratheraplan to counterfeit

   the already-owned Nextelbrand and profitoffofthe goodwillSprintspentyearscreating in the

   M arks.

          Sprint brought the instant action,bringing claim s for counterfeiting in violation of 15

   U.S.C.jj 1114,1116 (Count1);federaltrademarkinfringementin violationof15U.S.C.j 1114
   (Count11),
            .federalunfaircompetitionandfalsedesignationoforigin(Count111),
                                                                          .federaltrademark
              !

   dilutionin violation of15U.S.C.5 1125(c)(CountIV);cybersquatting inviolation of15U.S.C.
   j1125(d)(CountV);violationsofFlorida'sDeceptiveandUnfairTradePracticesAct(CotmtVI);
   common1aw falsedesignationoforigin andunfaircompetition(CountV11);cöunterfeitingofthe
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   SprintChirp M ark in violation of 15 U.S.C.jj 1114,1116 (CountVllI);federaltrademark
   infringement of the Sm int Chip M ark in violation of 15 U.S.C.j 1114 (Count IX);and
   cybersquattinginviolationof15U.S.C.j1125(CountX).
            D efendants counterclaim ed,alleging thatPlaintiff s abandoned the m arks,and therefore,

   they werethe rightfulownersofthesubjectmarks.Assuch,Defendants broughtclaimsfora
   declaratoryjudgmentoftrademark unenforceability dueto abandonment(CountI);declaratory
   judgment of trademark non-infringement (Count 11)) declaratory judgment ordering the
   caneellationofSprint'sremainingtrademark registrationsforNEXTEL (Count111))fraud on the
   United StatesPatentandTrademark Offiee(CountIV);common law tortiousinterferenc,ewith
   contractualbusinessrelationships(CountV);commonlaw tortiousinterferencewithadvantageous
   businessrelationships(CountV1);common 1aw defamation (CountV11);declaratoryjudgment
   orderthe cancellation ofSprint'strademark registration fortheNEXTEL Sound M ark tcotmt
   V111);common1aw unfaircompetition(Count1X);andreversedomainnamehijacking(CountX).
            Bothpartieshavemovedforsummaryjudgmentastoa11countsofeach oftheirclaims.
      I1.      LeealStandard

            UnderFederalRuleofCivilProcedure 56,acourtshallgrantsummaryjudgmentifCçthe
   depositions, docum ents, electronically stored inform ation, affidavits or declarations,

   stipulations...,orothermaterials...show ()thatthereisno genuinedisputeastoanymaterialfact
   and themovantisentitledtojudgmentasamatteroflaw.''Fed.R.Civ.P.56(a),(c).Rule 56
   requiresentryofsummaryjudgmenttçafteradequatetimefordiscoveryanduponmotion,against
   a party w ho fails to m ake a show ing sufficientto establish the existence ofan elem entessentialto
                                                                                                    .




   thatparty's case,and on which thatparty w illbearthe burden ofproofattrial.''Celotex Corp.v.

   Catrett,477U.S.317,322(1986).
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          Themovant'sinitialburdenonamotionforsummaryjudgmentçGconsistsofaresponsibility
   to inform the eourtofthe basis for its motion and to identify those portions ofthe pleadings,

   depositions,answ ersto interrogatories,and adm issionson Ele,togetherw ith the aftidavits, if any,

   which itbelievesdem onstratethe absenceofa genuine issue ofm aterialfact.''Fitzpatrick v. City

   ofAtlanta,2F.3d 1112,1115(11th Cir.1993)(alterationsandinternalquotationmarksomitted).
   Oncethem oving party hasshouldered itsinitialburden,theburden shiftsto thenon-movingparty

   to(çisetforth specificfactsshowingthatthereisagenuineissuefortrial,'notjusttodrestuponthe
   m ere allegationsordenialsoftheadverseparty'spleading.'''United Statesv.Lawrence,276F.3d

    193,197(5thCir.2001)(quotingResolutionTrustCorp.v.Camp,965F.2d25,29(5thCir.1992)).
   W henamovingpal'tyhascarrieditsburden,thepal'tyopposingsummaryjudgmentmustdomore
   than show thatthere is çûm etaphysicaldoubt''asto any m aterialfact.M atsushita Elec. Indus.Co.

   v.ZenithRadioCorp.,475U.S.574,586(1986).W hentherecordtakenasawholecouldnotlead
   arationaltrieroffad to find forthenonmovant,thereisno genuineissue.Seeid.at587.

          Atsummaryjudgment,coul'
                                tsarerequiredtoview theevidenceinthelightmostfavorable
   tothenonmovant.SeeChapmanv.Am.Cyanamid Co.,861F.2d 1515,1518(11thCir.1988).1çA1l
   reasonableinferencesarising from theundisputed factsshould bemadeinfavorofthenonm ovant.

   However,an inferencebased on speculation and conjecmreisnotreasonable.''1d.ltspeculation
   doesnotcreate a genuine issueoffad;instead,itoreatesa false issue,the dem olition ofwhich is

   aprimaly goalofsummaryjudgment.''Cordobav.Dillard's,Inc.,419F.3d 1169,1181(11th Cir.
   2005).
          Additionally,S'crossmotionsforsummaryjudgmentmay beprobativeofthenonexistence
   of a factual dispute,but this procedural posture does not autom atically em pow er the courtto

   dispense with the determination whetherquestionsofmaterialfactexist.''Ga.State Conf of
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   NAACP v.FayetteC/y.Bd ofcomm'
                               rs,775F.3d1336,1345-46(11thCir.2015).W hentheparties
   flecross-motionsforsummaryjudgment,thestandardofreview lçdoesnotdifferfrom thestandard
   applied when oneparty filesam otion,butsimply requiresadetermination ofwhethereitherofthe

   partiesdeservesjudgmentasamatteroflaw onthefadsthatarenotdisputed.''GEBAM Inc.v.
   Inv..
       Ré,l/r..pSeriesL LLC,15F.Supp.3d 1311,1315-16(N.
                                                      D.Ga.2013)(citingAm.BankersIns.
   Grp.v.UnitedStates,408F.3d 1328,1331(11th Cir.2005));seealso UnitedStatesv.Oakley,
   744F.2d 1553,1555(11thCir.1984)(tçcross-motions...willnot,inthemselves,warrantthecourt
   ingranting summaryjudgmentunlessoneofthepartiesisentitledtojudgmentasamatteroflaw
   onfactsthatarenotgenuinelydisputed.''(alterationadded;citationomittedl).
       111.    A nalvsis

         A . The Supplem entalM otion for Sum m ary Judcm ent

           As an initialm atter,the Court m ust determ ine w hether- and to w hat extent- it should

   considerDefendants'Supplem entalM otion forSmmm al'y Judgm ent.DefendantsûledtheM otion

   and inoorporated supplem entalstatem ent ofm aterial fad s to assel-tthat Sprint's m erger with T-

   M obileindicatesclearabandonmentby Sprintofnotonly theNextelm arks,butalso ofthe Sprint

   brand.Defs.'Supp.M ot.forSum m.J.2,ECF No.211.

          First,thisargum entwasalready heard and rendered inapposite by theCourt.SeeTr.M ay

   27,2020 StatusC onf.,ECF N o.217 at 13.A tthe status conference,the C ourtheard argum ent on

   theeffectofthe mergerand whetheritwarranted any additionaldiscovery orbriefing.TheCourt

   concluded it did not. A t no point during the conference did D efendants seek leave to fqle a

   supplementtoitspendingmotion forsummaryjudgment.
          ln this sam e vein,the supplem entalflings w illbe strickenl for failure to seek leave or


   l tsW hether the Court Sstrikes' the argulnent or m erely ignores it is a distinction without a practical
   differenceforthepurposeofresolvingthetlnderlyinggmotionl.''Boringv.PattilloIndus.RealEstate,426
                                                      6
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   otherwise comply with theCourt'sScheduling OrderortheLocalRulesfortheSouthern District

   ofFlorida.LocalRule7.1(c)providesthatonceamotionisfullybriefed,çtgnqofurtheroradditional
   m em oranda oflaw shallbefiled and served withoutpriorleaveofCourt.''S.D .Fla.L.R . 7.1(c);

   seealsoLeathelnvoodv.Anna'
                            sLinens,Co.,384F.App'x 853,857 (11th Cir.2010)(affirming
   district court's refusal to consider supplem ental briefing w here local rules only perm itted

   supplementalfilingswith thecourt'spermission).Accordingly,PlaintiffsM otion to Strikethe
   SupplementalM otion forSummary Judgment,(ECF No.218),is granted.The Courtwillnot
   oonsiderthe filings in ruling on the pending cross-m otions.

        B . M otions forSum m ary Judcm ent

          The centrifugal issue around w hich all the pal-ties' claim s and defenses revolve is

   abandonment.Specifically,for eitherside to succeed on theirrespective m otions for summ al'y

   judgment,theCoul'tmustfind,asamatteroflaw,thatSprinteitherdid- ordidnot- abandonthe
   subjecttrademarks.Assuch,theCourtwilladdressthisissuefirst.
        1. A bandonm entofN EX TEL m arks

          To bring an infringem ent claim under the Lanham Act,a plaintiff must hold a valid

   trademark.NaturalAnswers,Inc.v.SmithKline Beecham Corp.,529 F.3d 1325, 1329 (11th Cir.

   2008).Underthestamte,atrademarkisdeemedabandoned,andthusnolongervalid,dtgwjhen its
   usehasbeen discontinuedwith intentnottoresumesuchuse.''15U.S.C.j 1127,
                                                                        .2see Cumulus


   F.Supp.3d 1341,1349('N .D.Ga.2019).
   2Thedefinitionofabandonmentgiven infullinj 1l27readsinfull:
          A m ark shallbe deem ed to beStabandoned''ifeitherofthe following occurs:

          (1) W hen itsusehasbeendiscontinuedwithintentnottoresulnesuchuse.lntentnot
             to resum em ay be inferredfrom thecircum stances.Nonuse for3 consecutiveyears
             shallbe prim a facie evidence ofabandonlnent.l'U se''ofa m ark m eans the bona
             fide use ofsuch m ark made in the ordinary course oftrade,and notmade merely
             to reservea rightin a mark.
                                                   7
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   Media,Inc.v.Clear ChannelCommc'ns,Inc.,304 F.3d 1167, 1173 (11th Cir.2002)(CçgAj
   defendantwho successfully show sthatatradem ark plaintiffhasabandoned a mark isfreeto use

   themark withoutliability to theplaintiff.').Assuch,aputativetrademark infringermustprove
   two separateelem entsto intep osethedefenseofabandonm entsuccessfully:çcthattheplaintiffhas

   ceased using the m ark in dispute,and thathe has done so w ith an intentnot to resum e its use.''

   CumulusM edia,304 F.3d at1174,
                                .seealso Citibank,N A.v.Citibanc Grp.,Inc.,724 F.2d 1540,

   1545(11th Cir.1984).
          (CA bandonm ent is tradem ark law 's way of recognizing that tradem ark rights flow from

   use.''Cum ulus M edia,304 F.3d at 1174.For purposes of abandonm ent,the Lanham A ctdefnes

   (tuse''as(sthe bona fide useofsuch m ark m ade in theordinary courseoftrade,and notm adem erely

   to reserve a rightin a mark.''15 U.S.C.j 1127.Indeed,Slltqrademark ownership is always
   appurtenantto comm ercialactivity.Thus,actualand continuoususe is required to acquire and

   retain a protectible interestin a m ark.''Tally-H o,Inc.v.CoastC??;/y.Coll.D ist.,889 F.2d 1018,

   1022-23 (11th Cir.1989).Accordingly,Esneitherpromotionaluse ofthe mark on goodsin a
   differentcourse oftrade nor m ere token use constitute tuse'underthe Lanham A ct.''Em ergency

   One,Inc.v.Am.FireEagle,Ltd.,228F.3d 531,536(4thCir.2000)(citingImperialTobacco,Ltd.
   v.Phillip Morris,Inc.,899F.2d 1575,1592-93(Fed.Cir.1990));seeSuperiorConstdtingServs.,
   Inc.v.ShakleeCorp.,No.6:16-cv-2001-Orl-31GJK,2017W L 2834783,at*4(M .D.Fla.June30,
   2017).W heretheuseofamark doesnot(Greflectacontinualeffortto createaviablebusinessin



          (2) W hen any course ofconductofthe owner,including actsofomission aswellas
              comm ission,causesthem arktobecolnethe genericnam eforthegoodsorservices
              on orin connection w ith which itisused orothel-wise to lose itssignificance asa
              m ark.Purchaserm otivation shallnotbeatestfordeterm ining abandonm entunder
              thisparagraph.

    15 U.S.C.j 1127.
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   the goods so m arked,''such use does notrise to the levelof (çuse''contem plated by the Lanham

   Act.Whitev.ParamountPicturesCory ,108F.3d 1392,at*3 (Fed.Cir.Feb.21,1997);butsee
   Planetaly M otion,Inc.v.Techsplosion,Inc.,261F.3d 1188,1195-96 (11th Cir.2001)(tçunder
   the çtotality of the circum stances'analysis,a party m ay establish duse in com m erce'even in the

   absenceofsales.'').
          Sim ilarly,Gsnot every transport of a good is sufficient to establish ow nership rights in a

   m ark.''Planetary M otion,261 F.3d at 1196.To w arrantprotection,use ofa m ark itneed nothave

   gained wide public recognition,''but (igslecret,undisclosed internalshipments are generally
   inadequate.''BlueBell,Inc.v.FarahMfg.Co.,508F.2d 1260,1265(5th Cir.1975).3
          Regarding abandonment'ssecond element,provingthe subjectiveintentofatrademark
   holderm ay prove burdensom e fora defendant.A ccordingly,the Lanham A ctprovidestw o aidsto

   demonstrateintentnottoresumeuse.First,itexpressly providesthatCtgijntentnottoresumemay
   be inferred from the circumstances.'' 15 U.S.C. j 1127.Second,it provides a rebuttable
   presum ption of intent not to resum e use w here an alleged infringer can show nonuse for three

   consecutive years.f#.The intentto resum euse ofa trademark,however,çdcannotbe far-flung or

   indefnite;rather,there m ustbe an intentto resum e use w ithin the reasonably foreseeable futtlre.''

   NaturalAnsw ers,529 F.3d at 1329.

          The burden thata putative infringerbearson the affirmative defense ofabandonmentis

   strict.SeeConagra,Inc.v.Singleton,743F.2d 1508,1516(11th Cir.1984);Citibank,724F.2dat
    l545;Cum ulusM edia,304 F.3d at1175.(GB ecause afinding ofabandonm entw orksan involuntary

   forfeiture ofrights,federalcourts uniform ly agree thatthe defendants asserting an abandomnent




   3In Bonner v. Ci
                  ty ofprichard,661F.2d1206(1lthCir.1981),theEleventhCircuitadoptedasbinding
   precedental1decision handed down by the formerFifth Circuitpriorto October1,1981.
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    defensefacea Sstringent,'çheavy,'orCstrictburden ofproof.'''CumulusM edia,304F.3dat1175.4

           A fter a plenary review of the record,the Courtfinds thatgenuine issues ofm aterialfact

    existastowhetherSprintwasengagedin thebonafideuseoftheN EXTEL tradem ark andwhether

    ithad the intentto resum euse in the fumre.(sEvaluating whetherauseisin çthe ordinary course

    oftrade'is often an intensely factualundertaking.''Electro sb//rcc,ff C v. Brandess-Kalt-A etna

    Glp.,Inc.,458 F.3d 931,936-37,940 (tsnding clear errorwhere districtcourtweighed the
    evidenceofabandonmenton summaryjudgmentl;see also On-Line Careline,Inc.v.America
    Online,Inc.,229 F.3d 1080,1087 (Fed.Cir.2000) (tiAbandonmentis a question offact.'');
    CumulusMedia,304F.3d at1174-75(same);Rivard v.Linville,133F.3d 1446,1449(Fed.Cir.
    1998)(same).
           Sprintpointsto certain evidence ofuse,including,am ong otherthings,packaging and user

    guidesforSonim XP StrikeIS deviceswithNEXTEL in sm allprinton theback ofthebox,point-

    of-sale advertisementsattrade showsin 2017 and 2018,and slideshowsand verbalpresentations.

    See,e.g.,Jobe Decl.Ex.3-4,ECF N o. 122-3 at45-54.ltistrue thatthe m eaning of çsbona fide

    use''is not limited to profit-m aking activity; however,courts have found that prom otional

    materials alone are notalways sufficientto establish use underthe Lanham Act.See Planetary

    M otion,261F.3dat1195-96(collectingcases).(çcourtshavefoundpromotionaleffol'tssufficient
    under som e circum stances,such as w here prom otionalm ailings are coupled w ith advertiser or

    distributorsolicitationsorwhere atitle wasannounced to m illionsand prom oted atan am lualtrade

    convention.''See jtf N onetheless,use hasbeen found insufficientwhere tsonly a few presentations

    (ofthepromotionalmaterialsjweremade.''See id.at1196 (citing WarnervisionEntm 'tInc.


    4StExactly whatconstitutesdstrictproof is som ewhatofan amorphotlsstandard.''Nakava,LLC v.South
    J'ccWcElixir Co.,No.19-cv-81IZ8-SINGHAL,2020 W L 4601641,at*6 (S.D.Fla.Aug.10,2020).In
    CulnulusM edia,the Eleventh Circuitstopped shol4 ofproviding a definition.See 304 F.3d at1173-75.
                                                    10
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    Empireof Carolina Inc.,915F.Supp.639,645-46 (S.D.N.Y.1996),vacated inparton other
    grounds,101F.3d259(2dCir.1996)).
           Additionally,Defendantnotonly pointsto evidencethatcallsinto question theveradty of

    Sprint's Sonim XP Strike specim ens,see Defs.'Reply in SupportofDefs.'M ot.Sllmm .J. 5-6,

    ECF No.142,butalsopointstootherevidenceindicatingboth non-useandan intentnottoresum e

    useinthefuture.See,e.g.,Defs.'StatementofM aterialFacts!! 10-13,18,23-32,34.
           Tohighlightwhy summal'yjudgmentisinappropriatebased on the circumstancesofthis
    ease, the Coul't underscores one exam ple of inferenees that could be draw n from the reeord

    evidence.On onehand,Sprint'sundisputed cancellation orabandonmentofthe majority ofits
    N EX TEL m arksm ay indicatean intentto abandon theN EX TEL m ark,especially in lightofcertain

    statem entsm ade to them edia regarding Sprint'splans forthe N EX TEL brand.On the otherhand,

    itcould also indicatethatSprintpurposefully intended to in fad resum euseofthespeciEcm arks

    atissue.Thiskindofinfereneedrawingisforthejury.
           In sum ,neitherparty can show as am atteroflaw thatabandonm enthasorhasnotoccurred.

    MThiletherecordevidencedoesnotseem toriseto theçsstrictproof'requiredto involuntarily deem

    themarksabandoned,itisenoughtoprecludeSprint'ssummaryjudgment.TheCourtfindsthata
    triable issue of fact exists concerning whether Sprint's use of the m arks has been a Etbona fide

    use...m ade in the ordinary course oftrade,''ratherthan use dçm erely to reserve a rightin a m ark.''

    CumulusM edia,304F.3dat1174;seealsoNakava,LLC,2020W L 4601641,at*6(denyingcross
    motionsforsummaryjudgmentwheredisputedfactexistedasto abandonment);Invisasox,LLC
    v.Everything.Legwear,LLC,No.8:18-cv-2639-T-60TGW ,2020W L 6134336,at*3(M .D.Fla.
    Oct.16,2020)(denyingsummaryjudgmentwhereissueofdisputedfactexistedastowhetheruse
    was bona fide);Health drSun Research,Inc.v.Australian Gol4 LLC,No.8:12-cv-2319-T-
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    33M AP,2013 W L 6038748,at*6-7 (M .D.Fla.Nov.14,2013) (denying summaryjudgment
    whereissueofmaterialfactexistedastowhetherusewasbonafideortoken).
       2. GenericnessofSprintChim M ark

           TheDefendantsalso assertthatthey areentitled to summaty judgmentasto the Sprint
    Chirp M ark because the sound isgeneric.Specifically,Defendantsclaim thattheEssound isused

    by m any third parties,withoutlicenseand unchallenged by Sprint,''and hasbecome1$aubiquitous

    feature ofpush-to-talk m obilephones.''Defs.'M ot.Summ .J.16,ECF N o.120.

           A s an initialm atter,Defendantshave notpled generioness as eitheran affirm ative defense

    or one of its many counterdaim s.See Defs.' Answer to Am .Compl.And m ore im portantly,

    D efendants have notproduced sufficientevidence thatthe sound has in factbecom e generic.See

    Breakersofpalm Beach v.1nt1BeachHotelDev.,824 F.Supp.1576,1583-84(S.D.Fla.1993)
    (fînding twelve examplesofotheruseinsufficientbecauseevidencemustshow third-party use
    (Esignificantly''diminishesthemark).Second,Defendantshaveconcededthatthesound mark is
    unique and capable of secondary m eaning by applying forprotection ofthe very sam e m ark w ith

    the U nited StatesPatentand Tradem ark Office.

           BecauseD efendantshavefailedtoshow thattheSprintChirpM ark isgeneric,Defendants'

    M otion forSum m ary Judgm entas to its Counterclaim s regarding the SprintChirp M ark is dueto

    be denied.

       IV .      Conclusion

           Accordingly,aflercarefulconsideration,itishereby ORDERED AND ADJUDGED that:

                    Sprint's M otion to Strike D efendants' Supplem ental M otion for Sum m al'y

    Judgment,(ECFNo.218),isGRANTED.
           2.      Defendants'SupplementalM otionforSummal'yJudgment,(ECFNo.211),aswell
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    astheSupplementalStatementofM aterialFacts,(ECFNo.212),areherebySTRICKEN.
                   SpfintCommunications,lnc.'sM otion forSummary Judgment,(ECF Nos.122,
    122-1),isDENIED.
             4.    Defendants'M otionforSummary Judgmentand M emorandum in Support,(ECF
    No.120),isDENIED.
                   The stay ofthiscase ishereby LIFTED.Thiscase willbe setfortrialby separate

    order.

             DON E AND ORDERED in ChambersatM iami,Florida,this 12th day ofOctober2021.



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                                                     JO S E.M A RTIN EZ
                                                     UN ED STATES D ISTIU CT        GE
    Copies provided to:
    A llCounselofRecord
    M agistrate Judge Snow




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